                                          CIVIL
                 Case 2:22-cv-00005-SPC-MRM
JS 44 (Rev. 04/21)                              COVER
                                             Document 1-1SHEET
                                                          Filed 01/04/22 Page 1 of 1 PageID 34
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
           EUGENE KOTZ II                                                                                  T-MOBILE USA, INC.
    (b)   County of Residence of First Listed Plaintiff             LEE                                    County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          Shrayer Law Firm, LLC, 912 South Andrews Avenue
          Fort Lauderdale, FL 33316 954-601-3732
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                  3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL              400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS             410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights              430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                  450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated    460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                    New Drug Application    470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                   Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets    480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                 (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                          485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                  SOCIAL SECURITY                Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)            490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)        850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))          Exchange
                                            Medical Malpractice                                          Leave Act                        864 SSID Title XVI        ✖ 890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))            891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                          893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff       Act
    240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)          896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party         899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                Act/Review or Appeal of
                                            Employment                  Other:                       462 Naturalization Application                                       Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                            950 Constitutionality of
                                            Other                       550 Civil Rights                 Actions                                                          State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         Federal Communications Act, 47 U.S.C. §222
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Violations of the Federal Communications Act, 47 U.S.C. §222
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE         Cecilia M. Altonaga & Michael Moore (Southern) DOCKET NUMBER 1:21-cv-23545 & 1:21-cv-61653
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
JANUARY 4, 2022                                                         /S/ Glen H. Shrayer
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
